' Case 2:20-cv-01871-RFB-NJK Document 14-3 Filed 11/06/20 Page 1 of 6

 

 

KETTNERLAW,A PROFESSIONAL LAW CORPORATION
2150 W. Washington Street Suite 402, San Diego, CA 92110 | ph. (619) 756-7378 fax 888-809-4658

July 18, 2018
Complaint of Discrimination and Request for Right to Sue

SENT TO:

EEOC, Las Vegas Local Dept.

Via Facsimile: 702-388-5094

Via Email: PARSONNA.RUSSELL@EEOC.GOV

RE: Our Client/Charging Party: Ciara Williams
Date of Last Incident: 04/14/2018
Inquiry No. 550-2018-01454
Employed by: TopGolf USA Las Vegas, LLC

Dear Representative,

Please be advised the undersigned now represents the interests of the above referenced
individual regarding her Employment Harassment claim against TopGolf USA Las Vegas, LLC.
At this time we are requesting a formal Right to Sue Letter from your department.

Please send all future correspondence regarding my client’s claim to my office. Please do not
hesitate to contact me if you have any questions.

CHARGING PARTY INFORMATION:

Ciara Williams, by and through her attorneys, wants to file a charge against her employer
TopGolf USA Las Vegas, LLC for experiencing sexual harassment and discriminatory treatment
at the workplace because of her sex.

Over an extended period of time, Ms. Williams was treated as an inferior employee for
being female, and was the victim of pervasive, ongoing sexual harassment in the form of sexual
comments, innuendos, physical invasion of private areas, and demands for sexual favors by
higher ranking members of management at TopGolf.

Charging Party Address: 6103 Daisy Petal St., Las Vegas, NV 89130
Charging Party Phone: (928) 606-4112

Sincerely,
Kettner Law

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James Le
wen Attorney at Caw.

 

 

 

 
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EEOC Form $A (October 2017)

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URGENT: Pending Portal Submission

} U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

 

CHARGE OF DISCRIMINATION

For Official Use Only - Charge Number;

 

 

 

 

 

 

Personal
Information

 

 

 

First Name; Ciara MI: Last Name: Williams
Address: 6103 Daisy Petal St. Apt: 101
City: Las Vegas County: Clark State: NV Zip Code: 89130

 

 

 

 

Phone: Home GQ Work © Cell Email; _Ciaraw97@gmail.com
Employer 0 Union O Employment Agency O Other Organization O
Woo do'vore tink izati , TopGolf USA Las Vegas, LLC
discriminatell Organization Name: _! OPO as Vegas,
against you? =| address: 8750 N Cent Expy St. Suite: 1200

 

 

 

 

 

discriminatory?

City: _Las Vegas State: NV_ Zip Code: 89130 Phone:
Why you think
you were Race[_] Color(] Religionf] Sex) National Origin Agel
discriminated
against? Disability (] Genetic Information [] Retaliation [7] Other [{ specify)
Date of most recent job action you think was discriminatory: _Apriil 14, 2018
Also describe briefly each job action you think was discriminatory and when it
happened (estimate).
April 14th, 2018: Ms, Williams constructively discharged when Mr. Hinojosa was promoted,
What happened after sexually assaulting her, to become her supervisor. He continued to sexually harass her
to you that you despite Ms. Williams objections.
think was

February, 2018: Mr. Hinojosa followed Ms. Williams to an isolated location and forced his hands
down her pants, and digitally penetrated her. She reported this incident to Hurnan Resources.
Insteading of contacting police, Human Resources gave Hinojosa 4 "warning" and assured
Ms. Williams that the matter had been resolved and that he would have no further contact
with him.

 

Signature and
Verification

 

 

I understand this charge will be filed with both the EEOC and the State or local Agency, if any. I will
advise the agencies if I change my address, phone, or email. I will cooperate fully with them in the
processing of my charge in accordance with their procedures.

I understand by signing below that I am filing a charge of employment discrimination with the EEOC.
I understand that the EEOC is required by law to give a copy of the charge, which includes my
allegations and my name, to the organization named above. I also understand that the EEOC can
only investigate charges of job discrimination based on race, color, religion, sex, national origin, age,
disability, genetic information, or based on retaliation for filing a charge of job discrimination,
participating in an investigation of a job discrimination complaint, or opposing job discrimination.

I declare under penalty of perjury lh above is true and correct.

vy Date: _ 7/12/2018

Signature: f

ae

 

 
7/12/2018 ‘Case 2:20-cv-01871-RFB-NJK Documentg4-3. Filed 11/06/20 Page 3 of 6

 

office(s):

 

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Opportunity Commission
Public Portal

Your inquiry has been successfully submitted to EEOC. You should v
inquiry number 550-2018-01454 and refer to it when contactinc

You are now ready to schedule an interview with an EEOC representative, and will
the appropriate office when you click “Schedule an Interview” below. You must schec
in order to complete the inquiry process and be interviewed by EEOC staff. If you «
take any action on your inquiry. Based on the information you provided, you cai

 
 

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digitalsupport@eeoc.gov

 

 

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EEOC Form 3A (October 2017)

URGENT: Pending Portal Submission

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

CHARGE OF DISCRIMINATION

For Official Use Only — Charge Number:

 

 

 

 

 

Personal
Information

First Name; Ciara MI: Last Name: Williams

Address: 6103 Daisy Petal St. — Apt.: 101

City: Las Vegas County: Clark State: NV_ Zip Code; 89130

 

Phone: Home O Work Cell O Email; Cliaraw97@gmail.com

 

Who do you think
discriminated

Employer O Union O Employment Agency O Other Organization O

Organization Name: TopGolf USA Las Vegas, LLC

 

 

 

 

discriminatory?

against you? Address: 8750 N Cent Expy St. Suite: 1200
City; Las Vegas State: NV_ Zip Code: 89130 _ Phone:
Why you think
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I declare under penalty of perjury that the above is true and correct.

Signature: Date: 7/12/2018

 

 

 
' Case 2:20-cv-01871-RFB-NJK Document 14-3 Filed 11/06/20 Page 5 of 6

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal data and its uses are:

1. FORM NUMBER/TITLE/ DATE. EEOC Form 5A, Charge of Discrimination, Issued October 2017.
2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C, 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to writing
(whether later recorded on this form or not) are, as applicable under the EEOC anti-discrimination statutes
(EEOC statutes), to preserve private suit rights under the EEOC statutes, to invoke the EEOC's jurisdiction
and, where dual-filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence of matters covered
by the EEOC statutes (and as applicable, other federal, state or local laws). Information given will be used
by staff to guide its mediation and investigation efforts and, as applicable, to determine, conciliate and
litigate claims of unlawful discrimination. This form may be presented to or disclosed to other federal, state
or local agencies as appropriate or necessary in carrying out EEOC's functions. A copy of this charge will
ordinarily be sent to the respondent organization against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges
must be reduced to writing and should identify the charging party and respondent and the actions or
policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges
under Title VII, ADA or GINA must be sworn to or affirmed (either by using this form or by presenting a
notarized statement or unsworn declaration under penalty of perjury); charges under the ADEA should
ordinarily be signed. Charges may be clarified or amplified later by amendment. It is not mandatory that
this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL
WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges with EEOC
will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be first handled by a FEPA
under worksharing agreements. You will be told which agency will handle your charge. When the FEPA is
the first to handle the charge, it will notify you of its final resolution of the matter. Then, if you wish EEOC
to give Substantial Weight Review to the FEPA's final findings, you must ask us in writing to do so within 15
days of your receipt of its findings. Otherwise, we will ordinarily adopt the FEPA's finding and close our file
on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken
against you or others who oppose discrimination or cooperate in any investigation or lawsuit concerning
this charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA, Section 503(a) of the ADA and
Section 207(f) of GINA, itis unlawful for an emp/oyerto discriminate against present or former employees or
job applicants, for an emp/loyment agency to discriminate against anyone, or for a un/on to discriminate
against its members or membership applicants, because they have opposed any practice made unlawful by
the statutes, or because they have made a charge, testified, assisted, or participated in any manner in an
investigation, proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for exercising or
enjoying, or aiding or encouraging others in their exercise or enjoyment of rights under the Act,
7/12/2018

 

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office(s):

digitalsupport@eeoc.gov ;

 

 

 

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